                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )              Case No. 1:15-cr-39-CLC-SKL-1
                                                 )
ROBERT R. DOGGART                                )
                                                 )
                                                 )

                             REPORT & RECOMMENDATION

       Before the Court are two allied motions to suppress, with supporting memorandum, filed

by Defendant Robert R. Doggart (“Defendant” or “Doggart”) [Docs. 98, 100, 115 & 116].           In

the first motion, Defendant seeks to suppress all evidence obtained as a result of a wiretap

authorized by this Court pursuant to Title III of the Omnibus Crime Control and Safe Streets Act

of 1968, 18 U.S.C. §§ 2510-2520 (“Title III”). Defendant claims suppression of all evidence

from the wiretap (and its fruit) is required because the affidavit of Federal Bureau of

Investigation (“FBI”) Special Agent James G. Smith (“SA Smith”) [Doc. 100-1 (“Wiretap

Affidavit”)] and the application for the wiretap [Doc. 100-2 (“Wiretap Application”)] do not

establish probable cause for authorization of the wiretap [Doc. 100-3].     In the second motion,

Defendant seeks to suppress all evidence from the search of Defendant’s residence, vehicles, and

computer on the basis that SA Smith’s supporting affidavit [Doc. 116-1 (“Search Affidavit”)],

absent the wiretap interception information, fails to establish probable cause for authorization of

the search warrant issued by this Court.

       The United States of America (“Government”) filed a response in opposition to each

motion.   With respect to the first motion, the Government argues the Wiretap Affidavit provides

abundant probable cause.    With respect to the second motion, the Government argues that even




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if the wiretap materials were to be excluded from the probable cause analysis, the Search

Affidavit would still provide ample probable cause for issuance of the search warrant and/or the

good faith exception would apply to prevent suppression [Docs. 108 & 123].

       Defendant filed a reply brief on both motions [Docs. 119 & 129] and both motions are

now ripe.   I RECOMMEND that Defendant’s motions to suppress be DENIED for the reasons

stated below.1

I.     BACKGROUND

       This case was initiated by a Complaint filed on April 13, 2015 [Doc. 1]. The Complaint

charged Defendant with transmitting, in interstate commerce, a threat or communication to injure

others in violation of 18 U.S.C. § 875(c) and solicitation to commit a civil rights violation under 18

U.S.C. §§ 373 & 247. The Government subsequently filed a Bill of Information charging

Defendant with only the § 875(c) offense [Doc. 12] and the parties proposed a plea agreement with

respect to the single § 875(c) charge in the Information. The Court, however, found the proposed

plea agreement did not contain a sufficient factual basis to support a § 875(c) conviction [Doc. 29].

       After the Court rejected the proposed plea agreement, the grand jury returned a one-count

Indictment against Defendant charging him with solicitation to commit a civil rights violation

pursuant to 18 U.S.C. §§ 373 & 247 on July 7, 2015 [Doc. 37]. On May 3, 2016, a four-count

Superseding Indictment was returned against Defendant alleging solicitation to commit a civil

rights violation and solicitation to commit arson of a building pursuant to 18 U.S.C. §§ 373 & 247,

plus communicating threats on two different dates in interstate commerce in violation of 18 U.S.C.

§ 844(e)[Doc. 84].



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  The motions to suppress were referred for a report and recommendation pursuant to 28 U.S.C. §
636(b) by standing order. The Government has not challenged Defendant’s reasonable expectation
of privacy or “standing” to pursue the motions.


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          A. The Wiretap Affidavit

          On March 15, 2015, the Honorable Harry S. Mattice, Jr. authorized the interception and

monitoring of wire communications of a target telephone belonging to Defendant (“TT-1”). The

monitoring reportedly began the same day and ended on April 10, 2015.                     Calls between

Defendant and others were monitored and recorded.

          The Wiretap Application sought authorization to intercept the wire communications of

Defendant and other named interceptees for TT-1. In the Wiretap Application, the Government

stated it was seeking authorization to intercept the wire communications concerning the following

enumerated 18 U.S.C. § 2516 offenses:

                 (a) using the telephone or other instrument of interstate or foreign
                     commerce, willfully making any threat….concerning an attempt
                     or alleged attempt being made, or to be made, to kill, injure, or
                     intimidate any individual or unlawfully to damage or destroy
                     any building, vehicle, or other real or personal property by
                     means of fire or an explosive under 18 U.S.C. § 844(e);
                 (b) possessing a firearm in furtherance of a crime of violence, in
                     violation of Title 18, United States Code, Section 924(c).

[Doc. 100-2 at Page ID # 584]. Immediately following the above itemization, the Government

stated:

                         Other offenses for which there is probable cause to believe
                 that the named interceptees are committing, and are related to the
                 investigation, are:
                         (c) Conspiracy to injure, oppress, threaten, or intimidate any
                 person in connection with exercising their constitutional rights
                 under 18 U.S.C. § 241;
                         (d) willfully causing bodily injury to any person or, through
                 the use of fire, a firearm, a dangerous weapon, or an explosive or
                 incendiary device, [or] attempting to cause bodily injury to any
                 person, because of the actual or perceived race, color, religion, or
                 national origin of any person under 18 U.S.C. § 249;
                         (e) aiding and abetting the aforementioned crimes, in
                 violation of Title 18, United States Code, Section 2; and
                         (f) transmitting in interstate or foreign commerce any
                 communication containing any threat to kidnap any person or any



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                threat to injure the person of another, in violation of Title 18, United
                States Code, Section 875(c).

[Id. at Page ID # 585].       At the end of subparagraph (f), the Government inserted a footnote
stating:

                Applicant is aware that the only crimes listed in this application, and
                the affidavit, which are enumerated in 18 U.S.C. § 2516 are
                violations of Title 18, U.S.C. §§ 844(e) and 924(c). However, two of
                the other crimes listed, 18 U.S.C. §§ 241 and 249 form the basis for
                the underlying crime of violence to which the 924(c) charge is
                attached. Accordingly, affiant has listed all of the crimes for which
                law enforcement officers believe there is probable cause a federal
                criminal offense has been committed.

[Id. at Page ID # 585].

        In the Wiretap Affidavit, SA Smith recites his employment with the FBI since 2011 and that

he has experience investigating violent crimes, including terrorism [Doc. 100-1 at Page ID # 558-59,

¶¶ 1 & 2]. SA Smith avers that while he has other knowledge not set forth in the Wiretap Affidavit, it

contains facts to demonstrate “probable cause to believe that violations of Title 18 U.S.C. § 241, 249,

844(e), 875(c), and 924(c), are in the planning stages and will be committed by the user of [TT-1,

Defendant].” [Id. at Page ID # 559, ¶ 3]. SA Smith further opines that Defendant and others “have

committed, are committing, and are planning to commit” the offense listed above and again includes a

footnote stating that only § 924(c) and 844(e) are predicate offenses for interception under Title III and

the other crimes are listed because “they serve as either underlying crimes of violence for 18 U.S.C. [§]

924(c) or are integrally associated with this criminal activity.” [id. at Page ID # 559-60, ¶ 4 & n.1].

        SA Smith avers that he learned through the use of a confidential informant, a review of social

media, and other investigative techniques that Defendant “has made threats regarding individuals of

the Islamic faith in the state of New York.” [id. at Page ID # 560, ¶ 5]. The Wiretap Affidavit sets

forth law enforcement’s reliance on information supplied by a known, paid, “proven reliable,”

confidential source (“CS-1”) located in Texas who brought Defendant, believed to be located in



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Tennessee, to the attention of law enforcement [id. at Page ID # 563-64, 569, ¶¶ 9,10, & 19]. SA

Smith affirms his belief that “all information furnished by CS-1 used in this [A]ffidavit has proven

to be true, accurate and reliable” and “[m]uch of the information [provided by CS-1] has been

independently corroborated by law enforcement officers.” [Id. at Page ID # 563, ¶ 9].

       As set forth in the Wiretap Affidavit, SA Smith was aware of calls in February and March,

2015 between CS-1 and Defendant and that Defendant was planning a trip to Hancock, New York,

to conduct surveillance of an area known as Islamberg [id. at Page ID # 563, 566 ¶¶ 9 & 14].

CS-1’s initial telephone contacts with Defendant were unmonitored but the Wiretap Affidavit also

included information about monitored calls, including calls on March 6, 12, and 13, 2015 [id. at

Page ID # 564-69, ¶¶ 11, & 13-18]. In addition, the Wiretap Affidavit quotes three social media

postings by Defendant and SA Smith opines with respect to one such posting that it “is an attempt

by Doggart to recruit others for his plan to inflict casualties on Muslims.” [Id. at at Page ID # 565, ¶

12].

       The Wiretap Affidavit describes the contents of several of the monitored calls between the

CS-1 and Defendant. In a monitored call on March 6, 2015, Defendant and CS-1 discussed the

possibility of meeting with local politicians and law enforcement during the trip to New York and

SA Smith opined Defendant made clear the real “purpose of this travel was purportedly to conduct

surveillance on a compound . . . which Doggart believes is a ‘Muslim training camp” and that

Defendant’s “ultimate plan was to injure or kill Muslims.” [Id. at Page ID # 564-69, ¶¶ 11, &

13-18]. Defendant also told CS-1 that although there was no gun carry permit reciprocity

between Tennessee and New York so they could not take pistols to New York, they could bring

other guns. Defendant said he planned to bring his M4, which SA Smith averred was a military

style assault rifle, and four magazines [id.]. Defendant offered to provide the “meanest shotgun

on Earth” to CS-1 for the trip [id].


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       The Wiretap Affidavit sets forth that during the monitored March 12 and 13

communications, Defendant told CS-1 the surveillance was to take place “next week” and they

planned to meet in Nashville and drive to New York [id. at Page ID # 567]. The Wiretap

Affidavit recounts:

               15.    On March 12, 2015, CS-1 spoke to Doggart on TT-1.
                      During this conversation, Doggart stated “Yeah, uh, I think
                      we ought to do this thing next week, and, uh, I’m not sure we
                      need three, uh, cause we can’t, I don’t think we should go to,
                      to the mayor, or to the police, you know, with three guys
                      standing there.” Doggart then continues, “two is plenty.
                      And, uh, you know, then if they want to go with us to look
                      around, that’s fine and then we’ll go reconnoiter the place
                      and see what’s going on.” Based upon the affiant’s training
                      and experience, and the investigation thus far, affiant
                      believes that Doggart is informing CS-1 that Doggart, and
                      others, are going to meet with public officials and discuss
                      the alleged threat that the Muslims present. Affiant
                      believes that after meeting, Doggart and others are going to
                      conduct surveillance (or recon) of the area. CS-1 then
                      stated, “Okay, so we are gonna go do the uh, uh,
                      surveillance, just go look around,” to which Doggart replies,
                      “Yes, yes.”

               16.    Later in the same conversation, Doggart states, “[w]e can
                      talk about stuff on the way, our plans, you know, weapons
                      and what kind of equipment we’re gonna need and all that
                      stuff. So, that’s it. Um, I’m gonna try and confirm it
                      tomorrow. But, uh, you know, one thing again, I think we’ve
                      talked about it every time, is everybody’s got to understand,
                      you know, when we do this thing, there’s no pulling back.
                      You know, we, once we commit to it we have to [be][sic]
                      able to go in there and get our mind set, uh, and prepare to, to
                      fire weapons. I mean, that’s a big deal.” Based upon the
                      investigation, affiant believes that Doggart is informing
                      CS-1 that after the surveillance or recon, Doggart and his
                      group are going to employ violence against Muslims in the
                      Hancock, New York, area. Affiant believes that the plan
                      may be to conduct surveillance, leave New York, return to
                      Tennessee, then arrange for another trip to New York to
                      carry out their plan. Shortly later in the conversation, CS-1
                      asked Doggart about his plans. Doggart replied, “Well,
                      yeah, let’s see what we, let’s see what we find next week and



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                      based on the threat or, you know, what we’re going in there
                      to do, then we’ll talk about what kind of equipment, you
                      know, how many rounds of ammunition for each pistol and
                      rifle, what kind of, uh, camouflage we’re gonna wear, uh,
                      then ask everybody about, you know, how good of a shot
                      they are, that kind of stuff.” Affiant believes that Doggart
                      is informing CS-1 that he will make the decision, after the
                      surveillance, concerning how to strike and when to strike.
                      Doggart stated to CS-1 that his (Doggart’s) “M-4 is
                      battle-sited at 350 meters and it doesn’t miss, so uh.”
                      Doggart then stated, “Yeah, I’ll probably bring uh, I’ll
                      probably bring my M-4 with me just in case. You never
                      know.” Affiant believes this last statement is a reference to
                      Doggart and others travelling to the area for reconnaissance,
                      but Doggart would be prepared to use his weapon in case the
                      need arose (in Doggart’s mind) or if the opportunity
                      presented itself.

               17.    On March 13, 2015, CS-1 spoke with Doggart on TT-1.
                      Doggart stated that he wanted CS-1 to fly to Nashville on
                      Monday, March 16 (2015) (affiant is aware that this date has
                      now been changed to Tuesday, March 17, based upon a
                      subsequent recorded phone call between Doggart and CS-1).
                      Doggart explained that he would load his vehicle with
                      firearms, which affiant believes are the weapons mentioned
                      previously, and depart from Nashville that day after
                      retrieving CS-1. Doggart stated that CS-1 would ride with
                      Doggart. Doggart then stated that they would drive (in
                      Doggart’s vehicle) to New York. At some point, Doggart
                      mentioned picking up other “members of the team” in the
                      area, but affiant believes Doggart may be referring to a
                      scenario in the future after Doggart and CS-1 conduct
                      surveillance. CS-1 is unaware of the identities of the other
                      “members” referenced by Doggart. Doggart informed
                      CS-1 that the other eight individuals were committed to the
                      cause and would carry out the mission. Doggart informed
                      CS-1 that if they found “bad things” they were going to go to
                      the area in three vehicles, with “ten men” and “people are
                      going to die.”

[Id. at Page ID # 567-68, ¶¶ 15-17].

       Defendant also told CS-1 that he intended to tell the mayor of Hancock that the area

Muslims were planning to contaminate the water supply or a river [id. at Page ID # 569, ¶ 18].




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CS-1 reported to law enforcement that he believed this to be ruse to gain sympathy or cooperation

from the mayor [id.]. Defendant stated he planned to be back in Nashville by March 19 and

warned CS-1 that a reliable source had informed Defendant that their phones were being

monitored [id.].

       Based upon “law enforcement information and from listening to the recorded phone calls,”

SA Smith opines that Defendant, while using TT-1, has “issued threats against Muslims, living

near Hancock New York,” has made plans to travel “purportedly to conduct surveillance” on

Islamberg, which Defendant believed was a “‘Muslim training camp’, and “ultimately intends to

do more than just conduct surveillance of the facility and has made threats regarding the

individuals, including threats to kill them.” [Id. at Page ID # 565-66, ¶ 13]. The Wiretap

Affidavit quotes Defendant as stating in an (undated) phone call with CS-1, “those guys

[unintelligible] to be killed. Their buildings need to be burnt down. If we can get in there and do

that not losing a man, even the better.” [Id. at Page ID # 566, ¶ 14]. SA Smith opines the

unintelligible word is either “ought” or “have” [id.].

       The Wiretap Affidavit also contains information on the other two named interceptees and

notes their ties to what SA Smith opines are extremist and anti-government militia groups [id. at

Page ID # 570-71, ¶¶ 21-22]. SA Smith states one of the interceptees recruited CS-1 as a “sniper”

to “carry out attacks on Muslims in the United States, specifically in or near a location in Albany.”

[Id.]. SA Smith also avers that Defendant is a member of an organization known as “American

Reapers,” a group SA Smith opines is a “Christian based group with anti-Muslim and anti-government

ideology” that “targets, or intends to target, Muslims in America.” [Id. at Page ID # 565, 571, ¶¶ 12 &

22].

       B. The Search Affidavit

       SA Smith also signed the Search Affidavit supporting the application to search


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Defendant’s residence, vehicles, and the computer and the March 28, 2015 application for a

search warrant [Docs. 116-1, Page ID # 825 & 116-2]. The Honorable William B. Carter issued

the search warrant on the same day. The probable cause asserted in the Search Affidavit is based

on Facebook postings by Defendant obtained pursuant to a different search warrant, a description

of consensually recorded calls between Defendant and CS-1, a monitored meeting between CS-1

and Defendant, and a description of conversations obtained via the wiretap [Doc. 116-1 at Page ID

# 810-16, ¶¶ 3-12]. The Government does not contest that Defendant has “standing” to challenge

the wiretap.

II.     ANALYSIS

        Defendant has not requested, and is not entitled to, an evidentiary hearing on either motion.

As the Court must under such circumstances, this report and recommendation will consider only

the information contained within the four corners of the affidavits when addressing probable cause

for authorization of the wiretap and search warrant. See, e.g., United States v. Allen, 211 F.3d

970, 975 (6th Cir. 2000) (“The affidavit is judged on the adequacy of what it does contain, not on

what it lacks, or on what a critic might say should have been added.”); United States v. Brooks, 594

F.3d 488, 492 (6th Cir. 2010) (holding review of the sufficiency of a search warrant is limited to the

“four corners of the affidavit.”).

        “The basic standards for a wiretap are similar to those for a search warrant, but there also

must be strict compliance with Title III . . . .” United States v. v. Alfano, 838 F.2d 158, 161-62 (6th

Cir. 1988). As the Alfano court held, “the question that must be decided in issuing a warrant is

whether there is probable cause to believe that evidence of a crime will be uncovered.” Id. at

161-62. Under 18 U.S.C. § 2518, the issuing judge approving a wiretap must also determine on

the basis of facts submitted by the applicant that there is probable cause “for belief that an

individual is committing, has committed, or is about to commit a particular offense enumerated in


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section 2516” and “for belief that particular communications concerning that offense will be

obtained through such interception.” United States v. Jackson, 454 F. App’x 435, 438 (6th Cir.

2011).

         Probable cause is present if the totality of the circumstances, viewed in a reasonable and

common sense manner, reveals there is a fair probability that a wiretap will uncover evidence of a

crime. Id. “In an application involving an informant, the totality of the circumstances analysis

includes the veracity and basis of knowledge of persons supplying hearsay information, and the

issuing judge must be reasonably assured that the informant was credible and the information

reliable. A reviewing court affords great deference to the issuing judge’s determination of the

circumstances at the time of issuance.” Id. (internal quotation marks and citations omitted).

         A. Motion to Suppress Wiretap Evidence

         Title III addresses the admissibility of wiretap evidence. In pertinent part, it provides a

wiretap order may be issued “if the judge determines on the basis of the facts submitted by the

applicant that (a) there is probable cause for belief that an individual is committing, has committed,

or is about to commit a particular offense enumerated in section 2516 of this chapter; [and] (b)

there is probable cause for belief that particular communications concerning that offense will be

obtained through such interception.” 18 U.S.C. § 2518(3)(a) & (b). See also United States v.

Jackson, 454 F. App’x at 438 (outlining requirements). Title 18 U.S.C. § 2516 provides an

exclusive list of the crimes for which a wiretap warrant may be pursued.

         As noted in both the Wiretap Application and Wiretap Affidavit, and as acknowledged by

the parties, only the 18 U.S.C. § 924(c) and § 844(e) offenses are predicates for authorization of a

wiretap under Title III [Doc. 100-1 at Page ID # 559 n.1]. See also 18 U.S.C. § 2516(1)(c) and

(1)(n). Defendant’s single argument is that the facts asserted in the Wiretap Affidavit fail to set




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forth probable cause to believe Defendant had committed, was committing, or was about to

commit either of these crimes.

        Although Defendant noted CS-1 was a “paid” informant, Defendant has not challenged

the reliability of CS-1 in his motion. Instead, Defendant argues the totality of the circumstances

do not establish probable cause to believe Defendant either (1) used a telephone, or was preparing

to use a telephone, to willfully make any threat, or to maliciously convey false information

knowing the same to be false, concerning an attempt or alleged attempt being made, or to be made,

to kill, injure, or intimidate any individual or unlawfully to damage or destroy any building,

vehicle, or other real or personal property by means of fire or an explosive, as required by § 844(e);

or (2) used or carried or was preparing to use or carry a firearm in the commission of a crime of

violence, or possessed a firearm in furtherance of a crime of violence, as required by § 924(c).

       Defendant asserts that while the Wiretap Affidavit demonstrates probable cause to believe

Defendant used a telephone, it does not establish that he issued, or was about to issue, a threat

using the telephone. In his reply, Defendant claims, “had the issuing judge given adequate

thought to the elements of § 844(e), he would have realized that a wiretap could not be justified

under 18 U.S.C. § 2518(3)(a), the provision specifying that a wiretap can be issued only when

‘there is probable cause for belief that an individual is committing, has committed, or is about to

commit a particular offense enumerated in section 2516 of this chapter,’ if the Affidavit was

asserting that § 844(e) was the ‘particular offense’ upon which probable cause was to be based.”

[Doc. 119 at Page ID # 844-45].

       Similarly, Defendant argues that while the Wiretap Affidavit demonstrates probable cause

to believe Defendant legally possessed firearms, it does not establish that he possessed them in

connection with or furtherance of a crime of violence. The Government counters with arguments




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that there was abundant probable cause set forth in the Affidavit for issuance of the wiretap with

respect to either offense.

          I FIND the Wiretap Affidavit provides sufficient probable cause for issuance of a wiretap.

Defendant has not challenged that the Wiretap Affidavit includes information from a known and

reliable CS-1, consensually monitored communications, and various media postings; instead, he

challenges the affiant’s conclusions about the information learned during the investigation.

Defendant, however, failed to provide support for his argument that the Wiretap Affidavit should

be “stripped of the conclusory remarks” of SA Smith to determine probable cause [Doc. 100 at

Page ID # 555]. Contrary to the implications of Defendant’s argument about the affiant’s

conclusions, the law does not require the issuing judge to consider only the monitored comments

of Defendant without the context and conclusions provided by SA Smith, a trained and

experienced FBI agent. In short, the context of the monitored conversations is important. See

United States v. Spruill, 118 F.3d 221, 228 (4th Cir. 1997) (citing United States v. Leaverton, 835

F.2d 254, 256 (10th Cir. 1987) (“In determining whether words were uttered as a threat the context

in which they were spoken must be considered.”).

          Like the agent in Jackson, in this case SA Smith provided an investigative background of

the matter and described his own training and experience, which he used as a basis for drawing

reasonable conclusions. “[S]uch training and experience do not afford an officer carte blanche to

speculate in any investigation, but instead, the training and experience fold into the overall

evaluation of probable cause, as weighed by the issuing judge.” Jackson, 454 F. App’x at 439.

SA Smith’s conclusions are not irreconcilable with the facts included within the four corners of the

Wiretap Affidavit and it was entirely appropriate for the issuing judge to rely on his conclusions.

See id.




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       Among other information, the Wiretap Affidavit states Defendant explicitly told CS-1 on

TT-1 that: “those guys [unintelligible but thought to be “ought” or “have”] to be killed. Their

buildings need to be burnt down. If we can get in there and do that not losing a man, even the

better.” [Doc. 100-1 at Page ID # 566, ¶ 14]. Among other quotes, the Wiretap Affidavit recites

that Defendant said, “[y]ou know, we, once we commit to it we have to [be][sic] able to go in there

and get our mind set, uh, and prepare to, to fire weapons. I mean, that’s a big deal.” [Id. at at Page

ID # 567, ¶ 16]. The Wiretap Affidavit also clearly communicates the FBI wanted to use a

wiretap of TT-1 to investigate crimes and that the investigation would likely uncover evidence of

offenses, some of which Title III specifically permits wiretaps for and some of which it does not.

       With respect to the predicate offense violation of 18 U.S.C. § 924(c), Defendant argues

most of the crimes listed in the Wiretap Affidavit are not crimes of violence under § 924(c) based

on the reasoning of Johnson v. United States, 135 S.Ct. 2551 (2015), which was not decided until

three months after the wiretap was authorized on March 15, 2015. However, Defendant rightfully

acknowledges that in United States v. Taylor, 814 F.3d 340, 375-79 (6th Cir. 2016), the Sixth

Circuit Court of Appeals ruled Johnson does not apply to § 924(c). Defendant indicates he is

making a Johnson-based argument merely to preserve it, but because this Court is bound to follow

the law as interpreted by the Sixth Circuit, it is not necessary to address this “preserved” issue or

the Government’s various counterarguments. Defendant’s argument under Johnson has no merit

under current binding Circuit precedent. See Taylor, 814 F.3d at 379 (holding the definition of a




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crime of violence is not unconstitutionally vague).2

       I FIND the Wiretap Affidavit contains probable cause to believe Defendant was, at least,

about to commit a violation of 18 U.S.C. § 924(c) (by way of the underlying offense of § 249). For

example, a reasonable reading of the Affidavit is that Defendant made statements to CS-1

regarding his plans to take a firearm, his M4 rifle, to Hancock, New York where he would be

prepared to fire that rifle and cause bodily injury to the residents because of their religious beliefs

in violation of 18 U.S.C. § 249. Therefore, it is not necessary to also address whether the

Affidavit also contains probable cause to support a violation of § 844(e). In other words,

Defendant’s motion fails because even if the Wiretap Affidavit lacked probable cause of a crime

under § 844(e),3 it provided ample probable cause to believe Defendant was about to commit a

violation of 18 U.S.C. § 924(c).

       Defendant’s First Amendment, Second Amendment, and general political speech

arguments also do not provide a basis for concluding the Wiretap Affidavit fails to provide

probable cause for issuance of a wiretap in connection with at least one predicate offense under

Title III. “[A]cts and statements that ‘instruct, solicit, or persuade others to commit crimes of


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  The Government argues a violation of 18 U.S.C. § 249 is a crime of violence without regard to
the residual clause analysis underlying Johnson under the use-of-force clause or the enumerated
offense clause. See 18 U.S.C. § 924(e)(2)(B) (a “violent felony” is “any crime punishable by
imprisonment for a term exceeding one year” that (1) “has as an element the use, attempted use, or
threatened use of physical force against the person of another” (the “use-of-force clause”); or (2)
“is burglary, arson, or extortion, involves use of explosives” (the “enumerated-offense clause”).
In his reply, Defendant did not contest the Government’s argument that § 249 remains a crime of
violence under either the use-of-force or the enumerated offense clause.
3
  I also conclude the Wiretap Affidavit does, in fact, establish probable cause for the predicate §
844(e) offense as it must only establish probable cause, not guilt. See Jackson, 454 F. App’x at
439. At times, Defendant’s arguments appear to conflate proof sufficient to support a conviction
with probable cause for issuance of a wiretap. Whether the Government can ultimately prove an
actual violation of § 844(e) with evidence of the use of threatening words for the purpose of
intimidating the subject of the threat is not the standard for probable cause to issue a wiretap.


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violence’ are not protected by the First Amendment and may be prosecuted.” United States v.

Sattar, 272 F. Supp. 2d 348, 374 (S.D.N.Y. 2003) (quoting United States v. Rahman, 189 F.3d 88,

117 (2d Cir. 1999)). These cases acknowledge a court should tread more carefully when first

amendment concerns are implicated, but are also clear that solicitations to violence deserve no first

amendment protection.4

       Based on the totality of the circumstances presented within the four corners of the Wiretap

Affidavit and the required due deference to the issuing judge, I FIND there is sufficient probable

cause set forth in the Wiretap Application and Wiretap Affidavit to support Judge Mattice’s

conclusion that Defendant had committed, was committing, or was about to commit a particular

offense enumerated in § 2516 and that particular communications concerning that offense would

be obtained through interception of TT-1. See Jackson, 454 F. App’x at 438. Because I

conclude there is ample probable cause, I RECOMMEND that the Court DENY Defendant’s

motion to suppress the wiretap evidence and its fruits.

       B. Motion to Suppress Search Warrant Evidence

       In his second motion to suppress, Defendant argues that if his first motion to suppress the

wiretap evidence is granted, then evidence from the wiretap must be excluded for all purposes,

including its use to establish probable cause for the search of his home, vehicles, and computer.

Defendant’s single argument is that without the evidence obtained from the wiretap, there is

insufficient probable cause set forth in the Search Affidavit to support authorization of a warrant

for the search of Defendant’s home, vehicles, and computer. As I am recommending denial of

Defendant’s first motion to suppress the wiretap evidence, Defendant’s second motion to suppress



4
  In addition, as argued by the Government, sometimes even “innocent behavior” may provide a
basis for finding probable cause. See Illinois v. Gates, 462 U.S. 213, 243-44 n.13 (1983) (noting
probable cause requires only a probability or substantial chance of criminal activity).


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also fails.

        Defendant has not claimed a lack of probable cause if the evidence obtained from the

wiretap was properly included and considered in the Search Affidavit. Accordingly, it is not

necessary for the Court to address the Government’s alternative arguments that even if the wiretap was

unlawfully issued, the search would still be valid because the good faith exception to the

exclusionary rule would apply and/or the Search Affidavit would still contain sufficient probable

cause after the wiretap information was excised.

        As I conclude Defendant’s first motion to suppress the wiretap evidence should be denied,

I also RECOMMEND that the Court DENY Defendant’s motion to suppress the evidence

obtained during the search of Defendant’s residence, vehicles, and computer on the basis that the

Search Affidavit, with the wiretap materials, establishes probable cause for the search.

III.    CONCLUSION

        After having considered all evidence and argument, and for the reasons stated above, I

RECOMMEND5 that Defendant’s motions to suppress [Docs. 98 & 115] be DENIED.


                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE




5
  Any objections to this report and recommendation must be served and filed within 14 days after
service of a copy of this recommended disposition on the objecting party. Such objections must
conform to the requirements of Rule 59(b) of the Federal Rules of Criminal Procedure. Failure to
file objections within the time specified waives the right to appeal the district court’s order.
Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de novo review
where objections to this report and recommendation are frivolous, conclusive, or general. Mira v.
Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate
review. Smith v. Detroit Fed’n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


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